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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

   UNITED STATES OF AMERICA,

         Plaintiff,

                                                   Case No. 8:05-cr-481-T-23EAJ

  OLGA LEZCANO,

         Defendant.


                         FORFEITURE MONEY JUDGMENT

         THIS CAUSE comes before the court upon the filing of the motion of the

  United States of America for entry of a Forfeiture Money Judgment, which, at

  sentencing, shall be a final order of forfeiture as to defendant Olga Lezcano.

  The court, being fully advised in the premises, hereby finds as follows:

         1.      That the amount of proceeds obtained by the defendant Olga

  Lezcano as a result of her participation in the conspiracy to commit mail fraud,

  contrary to the provisions of 18 U.S.C. § 1341, in violation of 18 U.S.C. § 371,

  was $28,245.06 USD;

         2.      That, pursuant to the provisions of 18 U.S.C. § 981(a)(l)(C),

  28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b)(2), the government is entitled

  to a forfeiture money judgment in the amount of the proceeds the defendant

  obtained as a result of the offense of conviction, which is $28,245.06 USD.

  Accordingly, it is hereby

         ORDERED, ADJUDGED and DECREED that the United States' motion is
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     GRANTED.

              It is FURTHER ORDERED that defendant Olga Lezcano is jointly and

    severally liable to the United States of America for a forfeiture money judgment

    in the amount of $28,245.06 USD, pursuant to the provisions of 18 U.S.C.

     5 981(a)(l)(C), 28 U.S.C. 5 2461(c), and Fed. R. Crim. P. 32.2(b)(2).
              DONE and ORDERED in Chambers in Tampa, Florida, this           2K day
         rr




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                                             HONORABLE STEVEN D. MERRYDAY
                                             UNITED STATES DISTRICT JUDGE



    Copies to: Adelaide G. Few, AUSA
               Attorneys of Record
